                                                                     DIRECT DIAL      212.763.0883
                                                                     DIRECT EMAIL     rkaplan@kaplanhecker.com




                                                                                   January 13, 2024


VIA EMAIL

The Honorable Lewis A. Kaplan
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

                           Re:      Carroll v. Trump, 20 Civ. 7311 (LAK)

Dear Judge Kaplan:

        Counsel for Defendant Donald Trump, in seeking a one-week adjournment of trial in this
case, represented to the Court yesterday that Mr. Trump would be unable to attend trial on
Wednesday, January 17, because he would “be traveling to be with his family” to Florida, ECF
261 at 1. There was no mention made of any scheduling conflict in connection with Mr. Trump’s
presidential campaign.

        It has come to our attention, however, that a campaign event featuring Mr. Trump has been
scheduled for Wednesday, January 17, in New Hampshire. See Events, Donald J. Trump,
https://www.donaldjtrump.com/events (last visited Jan. 13, 2024).

        We bring this to the Court’s attention because the same counsel who made representations
about Mr. Trump’s availability on Wednesday are making filings today and tomorrow addressing
their willingness to comply with the Court’s evidentiary rulings and other orders. ECF 255, 257,
260, 261.1 We further note that, today, Mr. Trump posted a statement on Truth Social in which he
falsely wrote that he had moved to adjourn the upcoming trial only for “one day” and that the trial
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 Mr. Trump’s counsel today accused Plaintiff’s counsel of “an intentional effort to mislead the Court” about the media
Dr. Humphreys considered in connection with her supplemental report. ECF 261 at 4. Mr. Trump’s counsel is
mistaken, apparently due to the different numbers that were used in Dr. Humphreys’ appendices. As we explained
previously, the June 24, 2019 CNN program was removed from Dr. Humphreys’ supplemental report, where it is
identified by the numbers T-07 and T-08. ECF 254 at 4 n.6; see also ECF 237-1 at 23 (identifying T-07 as “Anderson
Cooper 360: CNNW : June 24, 2019 5:00pm-6:00pm PDT” and T-08 as “Anderson Cooper 360 : CNNW : June 24,
2019 9:00pm-10:00pm PDT”). The link that Mr. Trump includes in his letter comes from Dr. Humphreys’s original
report, see ECF 261 at 4 n.7; ECF 192-9 at 110 n.386. A link to the same CNN program appears in Dr. Humphreys’
supplemental report under the header “Removed Sources.” ECF 237-1 at 22-23. We, again, can confirm that Dr.
Humphreys does not base her damages calculation on any consideration of the June 24, 2019 CNN program.
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“could have taken place at any time, including months ago.” @realDonaldTrump, Truth Social
(Jan. 13, 2024), https://truthsocial.com/@realDonaldTrump/posts/111750578985847336.


                                                              Respectfully submitted,



                                                              Roberta A. Kaplan

cc:   Counsel of Record
